896 F.2d 1366Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bryant Keith BELLE, Plaintiff-Appellant,v.Robert L. JOHNS, Superintendent;  Stan Brown, FacilityManager, Defendants-Appellees.
    No. 89-6730.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 31, 1989.Decided:  Feb. 13, 1990.
    
      Bryant Keith Belle, appellant pro se.
      Before PHILLIPS, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Bryant Keith Belle appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Belle v. Johns, C/A No. 89-1685-R (D.Md. June 13, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    